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                         Exhibit D
Case 5:18-cv-00152-SMH-MLH Document 30-4 Filed 07/06/18 Page 2 of 3 PageID #: 478


  From:    Carolyn Goodwin Carolyn.Goodwin@BossierSchools.Org
Subject:   [Defender Restored] Re: Support from a Bossier teacher
   Date:   May 7, 2015 at 3:30 PM
     To:   HINSON, CHARLOTTE CAHINSON@caddo.k12.la.us

I taught at Newton Smith on mlk drive and have been at stockwell for 17 years. I too am so tired of the mess education has become. I'm still
not ready to retire and keep my door shut and do my own thing.
Helene Braunig is a person from my past. I babysat for the Braunigs when I was in high school. Her kids were brilliant and I am sure she, like
most evolutionists are too smart for their own good. I know they are Jewish and she was an English teacher at Captain Shreve. Call me
anytime. Carolyn

Sent from my iPhone

On Feb 26, 2014, at 8:11 PM, "HINSON, CHARLOTTE" <CAHINSON@caddo.k12.la.us> wrote:

> Wow!! Thanks for taking the time to encourage me!! I, too, have the support from principal and school board. They reminded me I did
nothing wrong. It wasn't a parent saying anything,; it was the letter I wrote to the Times in response to 2 women writing that we need to teach
evolution in all classrooms as fact, and not even mention any other theory. I am so, so sorry that you went through that. It's tough right now,
but I feel a peace. :) :) :) I teach many fitness classes and personal train, so if there ever comes a day where they want me out, I have
options. :) But I do LOVE to teach!!!! Where did you teach in Caddo? I've been at EG 10 years, but I taught in Nashville, San Diego, and
Bossier too. I talked to Mike as well. He's an amazing attorney. I have 5 other attorneys who are friends of mine, fully supportive, which is
awesome. I may call you this weekend! Thanks again for sharing!!! Times are getting harder and harder.......I feel the end is near. Be
blessed!!!! Charlotte
> ________________________________________
> From: Carolyn Goodwin [Carolyn.Goodwin@BossierSchools.Org]
> Sent: Wednesday, February 26, 2014 7:33 PM
> To: HINSON, CHARLOTTE
> Subject: Support from a Bossier teacher
>
> Dear Charlotte,
> Hello, my name is Carolyn Goodwin and I teach 4th grade at Stockwell Place in Bossier. I taught for 10 years I Caddo and I bet we have
some mutual friends. Several years ago, several teachers and I were sued by the ACLU for our approach to a "mini" school FCA that we
called Stallions for Christ, our Christmas program and religious displays (included many religions in the display). It was a rude awakening for
our school and Bossier Parish. We had complete support of our superintendent, principal, parents, and community. Mr. Kruithof even told the
woman filing suit, "Welcome to the Bible Belt, m'am." We had Mike Johnson with the Alliance Defense Fund there with us every step of the
way explaining the process and holding our collective hands. It only went as far as the deposition and then the family moved, so the case was
dropped. They picked the Jewish religion out of the sky and felt their child's rights have been violated. We also had the support of the local
Jewish community. I have a feeling that our experience was much easier than yours and I want you to know that you are in my prayers and
would love to visit with you some time. We all agreed that we felt God's love and protection the whole time and I imagine you do too. Bossier
has it's problems but there are so many awesome Christians from the top down. We pray at school functions and probably break the law all
the time!! I had to step away from teaching science because of my strong and vocal views supporting Creationism. Now they just somehow
come out in Social Studies and I bite my tongue every day when discussing our current government. Anyway, just wanted to tell you that we
need more teachers like you and that my great granddaddy wasn't a monkey either!
>
> Call me anytime,
> Love in Christ,
> Carolyn Goodwin
> 469-8349
Case 5:18-cv-00152-SMH-MLH Document 30-4 Filed 07/06/18 Page 3 of 3 PageID #: 479


  From:    Cathi Slack Cathi.Slack@BossierSchools.Org
Subject:   [Defender Restored] RE: Support from a Bossier teacher
   Date:   May 7, 2015 at 3:30 PM
     To:   Carolyn Goodwin /O=BOSSIERSCHOOLS/OU=First Administrative Group/cn=Recipients/cn=Carolyn.Goodwin

Carolyn,
How thoughtful of you to contact this teacher. We have some idea of how she feels. I was just reading up on what has happened with all of this
yesterday. The ACLU will never understand because they believe it has to do with "religion", but we know it's about a relationship and that
can't be separated from your work day or your life in general. Your kind spirit is just one of the many reasons I love you!
Cathi

-----Original Message-----
From: Carolyn Goodwin
Sent: Wednesday, February 26, 2014 7:33 PM
To: Cathi Slack
Subject: FW: Support from a Bossier teacher


________________________________________
From: Carolyn Goodwin
Sent: Wednesday, February 26, 2014 7:33 PM
To: cahinson@caddo.k12.la.us
Subject: Support from a Bossier teacher

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